                      Case 1:21-cr-00083-TNM Document 79 Filed 04/04/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


             UNITED STATES OF AMERICA                             )
                             Plaintiff                            )
                                v.                                )      Case No. 1:21-CR-00083-TNM
                    BRANDON FELLOWS                               )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        BRANDON FELLOWS                                                                                                      .


Date:          04/04/2022                                                                /s/ William L Shipley
                                                                                           Attorney’s signature

                                                                                          William L. Shipley
                                                                                       Printed name and bar number

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